998 F.2d 1011
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Steven Dalton WHEELER, Petitioner-Appellant,v.Martin McDADE;  Attorney General of North Carolina,Respondents-Appellees.
    No. 92-6622.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  April 20, 1993.Decided:  July 2, 1993.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Malcolm J. Howard, District Judge.  (CA-91-333-HC)
      Steven Dalton Wheeler, Appellant Pro Se.
      Clarence Joe DelForge, III, Office of the Attorney General of North Carolina, Raleigh, North Carolina, for Appellees.
      E.D.N.C.
      AFFIRMED.
      Before PHILLIPS, MURNAGHAN, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Steven Dalton Wheeler appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C.s 2254 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.*  Accordingly, we affirm on the reasoning of the district court.  Wheeler v. McDade, No. CA-91-333-HC (E.D.N.C. Jn. 1, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         We deny Appellant's motion to appoint counsel and his motion to remand the case
      
    
    